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                                                                                  Cr. Form No. 18
Waiver of Indictment


                       United States District Court
                                   FORTHE
                            DISTRICT OF MINNESOTA

uNrlED STATES OF        AMERICA                  )
                                                 )
        v.                                       )       Criminal No. 21-cr-176(l)
                                                 )
MUNAH I{ARRIS YOUSSEF,                           )
                                                 )

        I, MunahHarris Youssef, the above-named defendant, who is accused ofconspiracy

to defraud the United States, in violation of Title 18, United States Code, Section 37 7, and

having been advised of the nature of the charge and my rights, hereby waive prosecution

by indictment and consents to being charged by the filing of a criminal information.


Date:   ,r/f /zazr                                   I{ARRIS YOUSSEF, Defendant


Date:    rt
              /r   !lz,tr                   %-(a
                                           KEALA EDE, Defense Counsel


Date:   1111812021
                                                 AN L. SING,




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